             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE GARY S. KATZMANN, JUDGE
_________________________________________
                                          )
SOLAR ENERGY INDUSTRIES                   )
ASSOCIATION, NEXTERA ENERGY, INC.,        )
INVENERGY RENEWABLES LLC, and EDF         )
RENEWABLES, INC.,                         )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  ) Court No. 20-03941
                                          )
UNITED STATES, ET AL.,                    )
                                          )
      Defendants.                         )
__________________________________________)

                                            ORDER

       On consideration of plaintiffs’ Motion to Expedite Discovery and to Compel Production

of Petition, ECF No. 19, and defendants’ response, it is hereby

       ORDERED that the motion is denied as moot; and it is further ORDERED that Plaintiffs

shall file their response to Defendant's Motion to Dismiss by May 5, 2021.

Dated: ____________
       April 21, 2021                                                        _______________
                                                                             /S/ Gary S. Katzmann
       New York, NY                                                               JUDGE
